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August 22, 2017


The Honorable William Alsup
United States District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Waymo LLC v. Uber Technologies, Inc. et al., Case No. 3:17-cv-00939

Dear Judge Alsup:

Pursuant to the Court’s Case Management Order (Dkt. 562 ¶ 9) and August 17, 2017 Order
(Dkt. 1247), Defendants Uber Technologies, Inc. and Ottomotto LLC (“Uber”) withdraw
their August 15 letter (Dkt. 1221) and submit the attached letter requesting permission to file
a motion for summary judgment.

Respectfully submitted,




William Christopher Carmody
Counsel for Uber Technologies, Inc.
and Ottomotto LLC

cc:    All Counsel of Record
       Special Master John Cooper

        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




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At the August 16, 2017 hearing, the Court advised the parties to
                                                     because
                                                 (8/16/17 Sealed Hr’g Tr. 134:20-23.) Several
of Waymo’s alleged trade secrets should be knocked out by summary judgment, but based on
the Court’s guidance, Uber requests permission to file a motion for summary judgment on
only two issues: (1) non-infringement of the ’936 patent by Fuji’s laser diode firing circuit;
and (2) that TS 9 is not a trade secret. For the ’936 patent, the “diode” claimed in the ’936
patent must “block” current from flowing backward in the circuit, but Waymo’s expert
admits that the purportedly equivalent resistor in Fuji’s firing circuit does not do so,
defeating Waymo’s doctrine of equivalents theory. For TS 9, Waymo’s own engineers admit
that the claimed concepts of TS 9 are generally known.1

Non-infringement of the ’936 Patent. Waymo admits that the firing circuit in Uber’s Fuji
device does not have the “diode” element required by all claims of the ’936 patent, but
contends that a resistor is equivalent to a diode. (Dkt. 825-4 at 4-5 (figure annotated by
Waymo below).) It is not.

Applying the function-way-result test under the doctrine of equivalents, Waymo argues that
the function of the claimed diode is to “resist current flow from the capacitor towards the
inductor”; the way the diode performs that function is through its “characteristic resistance”;
and the result is that “current is directed from the charged capacitor to the laser diode rather
than back towards the inductor.” (Id.)




But Waymo’s own expert, Dr. Wolfe, has contradicted Waymo’s application of the test. Dr.
Wolfe stated that a diode allows current to flow in one direction when “forward-biased” to
initiate charging, but “diode 514 [of the ’936 patent] becomes reverse biased to block the
1
 Should the Court be inclined to permit a broader motion, Uber would also seek summary
judgment on Waymo’s TS 25 and TS 111, because Waymo has no evidence that Uber
acquired, used, or disclosed either of those alleged trade secrets. The Court has cautioned
Waymo that its purported evidence of use for TS 25                                to the
claimed             . (8/16/17 Sealed Hr’g Tr. 108:20-21.) Furthermore, Waymo admits that
TS 25 and TS 111 were not disclosed in any files allegedly downloaded by Anthony
Levandowski or any other former Waymo employee. (Dkt. 1107-4 at 3, 5.) As the Court
warned Waymo,
                            (8/16/17 Sealed Hr’g Tr. 108:22-23.)


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current flow” to the inductor during the discharge cycle. (Dkt. 1116-1 at 14-15 (emphasis
added).) He explained that “blocked” means that the diode is “reverse biased because we’re
near the zero point and there’s little or no current that’s flowing.” (Lahad Decl. Ex. 1, Wolfe
Dep. 108:2-17.) In other words, when a diode is “reverse biased,” the “current is about close
to zero as anybody would care about.” (Id. at 60:13-17.) As Dr. Wolfe admitted, the
claimed diode operates to “block” current, not merely to “resist current flow” as Waymo
contends. (Id. at 95:11-23 (“blocking” is shorthand for current flow in negative direction
being “very, very close to zero”).)

The resistor in Fuji’s circuit applies only a                    to the current flowing
through it, regardless of the current’s direction, and Waymo does not contend that the resistor
can become reverse-biased to block current. (See Dkt. 825-4 at 5.) The claimed diode
blocks current when reverse-biased, as admitted by Waymo’s expert, but Fuji’s resistor does
not. This issue is ripe for summary judgment.

TS 9 Is Not A Trade Secret. TS 9 covers the broad concept of a
             incorporated into Waymo’s GBr3 LiDAR.2 Specifically, TS 9 claims “


                                                         ” (Dkt. 25-7 at 8.) As shown in
public disclosures such as U.S. Patent No. 5,420,722,             are widely used in
connection with laser diodes. As seen below, the ’722 patent discloses
                                          . The ’722 patent describes a

                                         (Dkt. 298-1, Lebby Sur-Reply Decl. ¶¶ 18-20; Dkt.
309-6, ’722 patent, Abstract, 2:9-11.)




               Waymo                                   U.S. Patent No. 5,420,722

Waymo’s 30(b)(6) designee Pierre-Yves Droz and engineer Will McCann admitted that the
use of
                  (Lahad Decl. Ex. 2, 8/3/17 Droz Dep. 232:9-18, 233:14-21; see also Ex. 3,
McCann Dep. 206:8-209:8, 215:3-218:8; Ex. 4, McCann Dep. Ex. 1078 (FAC lens
specification from supplier Hamamatsu).) Mr. McCann explained that TS 9’s disclosure of
                                                               is achieved in the GBr3 by
                                                                        (Lahad Decl. Ex. 3,
McCann Dep. 217:21-4; see also id. at 169:10-17, 172:8-173:5.) Both Mr. Droz and Mr.
McCann admitted that

2
 Waymo also admits that TS 9 was not disclosed in any files allegedly downloaded by
Anthony Levandowski or any other former Waymo employee. (See Dkt. 1107-8 at 199.)


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                       (Lahad Decl. Ex. 2, 8/3/17 Droz Dep. 230:8-20; Ex. 3, McCann Dep.
217:16-218:1
       ).) This comports with public disclosures, such as U.S. Patent No. 8,559,107, showing
                                                   . (Lahad Decl. Ex. 5, U.S. Patent No.
8,559,107, Fig. 3 (below).)




When it comes to demonstrating that something is not a trade secret, “[t]o prove a positive,
one example will suffice.” Atmel Corp. v. Info. Storage Devices, Inc., 189 F.R.D. 410, 418
(N.D. Cal. 1999). With public references and admissions from Waymo’s witnesses, TS 9 is
ripe for summary judgment.




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                      ATTESTATION OF E-FILED SIGNATURE

I, Arturo J. González, am the ECF User whose ID and password are being used to file this
Declaration. In compliance with General Order 45, X.B., I hereby attest that William
Christopher Carmody has concurred in this filing.

Dated: August 22, 2017                                 /s/ Arturo J. González
                                                        ARTURO J. GONZÁLEZ




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